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Bi040 (FORM 1040) (12/15)

Page 1 of 36

 

ADVERSARY PROCEEDING CO
(Instructions on.

   

 

 

 

 

 

PLAINTIFFS Philip J. Sirlin, pro se
(914) 666-2159

SHEET ADVERSARY PROCEEDING NUMBER
(Court Use Only)
DEFENDANTS

Ken Levy and Sharon Levy

 

ATTORNEYS (Firm Name, Address, and Telephone No.)

ATTORNEYS Dominick Rendina
Dominick Rendina Attorney at Law

500 West Putnam Avenue, Suite 400
Greenwich, Connecticut 06830

 

PARTY (Check One Box Only)

o Debtor c U.S. Trustee/Bankruptey Admin fDebtor © U.S. Trustee/Bankruptey Admin
fCreditor co Other © Creditor O Other
c Trustee c Trustee

 

eAcbir (Cheek (203) 542-7210

 

CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED}
COMPLAINT FOR DETERMINATION OF DISCHARGEABILITY AND OBJECTING TO DEBTORS’ DISCHARGE PURSUANT
TO SECTIONS 523 AND 727 OF THE BANKRUPTCY CODE. Defendants-Debtors, with on-going bankruptcy filings and
a large number of unpaid debts, induced Plaintiff to rent a house to them by offering to agree in writing that they
_would not seek to have the rent discharged in the on-going or future bankruptcy filings.
NATURE OF SUIT

(Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)

 

FRBP 7001(1) — Recovery of Monev/Property
C1 |-Recovery of monev/property - §542 turnover of property
C] 12-Recovery of money/property - $547 preference
O 13-Recovery of money/property - $548 fraudulent transfer
C] l4-Recovery of money/property - other

FRBP 7001(2) — Validity. Priority or Extent of Lien
C21 -Validity. priority or extent of len or other interest in property

FRBP 7001(3) — Approval of Sale of Property
i 31-Approval of sale of property of estate and of a co-owner - §363(h)

__ FBP 7001 (4) - Objection/Revocation of Discharge
£1-Objection / revocation of discharge - $727(c).(d),(e)}
FRBP 7001(5) —- Revocation of Confirmation

S{-Revocation of confirmation

FRBP 7001(6) — Dischargeability
-Dischargeability ~ $523(a}(1).414),(14A) priority tax claims
Bet M62-Dischargeability - $523(a)(2). false pretenses, false representation,
actual fraud
GM dectorsetiis - $523(ay(4), fraud as fiduciary, embezzlement, larcony

{continued next column)

FRBP 7001(6) — Dischargeability (continued)

6}, Dischargeability - §523(a)(5), domestic support

a 68-Dischargeability - $523(a6), willful and malicious injury

-) 63-Dischargeability - §$23(a)(8), student loan

i” 64-Dischargeability - $523(a)(15). divorce or separation obligation
(other than domestic support)

CI 65-Dischargeability -~ other

  

FRBP 7001(7) — Injunctive Relief
7}-Injunctive relief — imposition of stay
0 72-Injunctive relief — other

O 81-Subordination of claim or interest

FRBP 7001(9) Declaratory Judgment
91 -Declaratory judgment

  
  

FRBP 7001(10) Determination of Remove

Other
CJ] ss-siPA Case -- 15 U.S.C. §878aaa et. seg. 23
Cj 02-Other (e.g. other actions that would have been brought in state court

if unrelated to bankruptcy case)

 

mo Check if this case involves a substantive issue of state law

o Check if this is asserted to be a class action under FRCP 23

 

© Check ifa jury trial is demanded in complaint

 

Demand $ §152,422.00 plus interest

 

Other Relief Sought

 

4 ‘ g ___ Plaintiff respectfully requests that this Court enter a judgment determining
that the debt reflected in the Judgment entered in favor of Plaintiff against the Defendants-Debtors,
idated July 20, 2015, for the sum of $152,422.00 is non-dischargeable under Bankruptcy Code § 523.

 
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B1040 (FORM 1040) (12/15)

 

BANKRUPTCY CASE IN WH THIS ADVERSARY PROCEEDING ARISES

 

 

 

 
  
 

 

 

 

 

 

NAME OF DEBTOR Ken Levy and Sharon Levy BANKRUPTCY CASENO. 49 05 89 jam
DISTRICT IN WHICH CASE IS PENDING DIVISION OFFICE NAME OF JUDGE
District of Connecticut Bridgeport Chief Judge Julie A. Mannin
REL y PROCEEDING (IF ANY)
PLAINTIFF DANT ADVERSARY

PROCEEDING NO.

 

DISTRICT IN WHICH ADVERSARY IS PENDING DIVISION OFFICE NAME OF JUDGI:

 

 

 

SIGNATURE OF ATTORNEY (OR PLAINTIFF)

 

DATE PRINT MAME OF ATTORNEY (OR PLAINTIFF)
Me }4 Le al Philip J. Sirlin, pro se
Mey L4, bo
i

INSTRUCTIONS

 

 

 

 

‘The filing of a bankruptcy case crcates an “estate” under the jurisdiction of the bankruptcy court which consists of
all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
jurisdiction of the court so broad. there may be lawsuits over the property or property rights of the estate. There also may be
lawsuits concerning the debtor's discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
proceeding.

A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
Cover Sheet. unless the party files the adversary proceeding electronically through the court's Case Management/Flectronic
Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
information to process the adversary proceeding and prepare required statistical reports on court activity.

The cover shect and the information contained on it do not replace or supplement the filing and service of pleadings
or other papers as required by law. the Bankruptcy Rules. or the local rules of court. The cover sheet, which is largely self-
explanatory, must be completed by the plaintiff's attorney (or by the plaintiffif the plaintiff is not represented by an
attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.
Attorneys. Give the names and addresses of the attorneys, if known.

Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.
Demand. Enter the dollar amount being demanded in the complaint.

Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. Ifthe

plaintiff is represented by a law firm, a member of the firm must sign. Ifthe plainti ff is pro se, that is, not represented by an
attorney. the plaintiff must sign.
Case 19-05013 Doci1_ Filed 05/29/19

Philip J. Sirlin, Pro Se

7 Kisco Park Drive

Mount Kisco, New York 10549-3908
914-666-2159

UNITED STATES BANKRUPTCY COURT
DISTRICT OF CONNECTICUT

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In re:

KEN LEVY and
SHARON LEVY

Debtors,

Chapter 7

Case No. 19-50289 JAM)

 

PHILIP J. SIRLIN, Pro Se
Plaintiff,
Vs.

KEN LEVY and
SHARON LEVY

Defendants.

Adversary Proceeding
No.

(Hearing date to be set
by summons)

 

COMPLAINT FOR DETERMINATION OF DISCHARGEABILITY
AND OBJECTING TO DEBTORS’ DISCHARGE PURSUANT TO
SECTIONS 523 AND 727 OF THE BANKRUPTCY CODE
Case 19-05013 Doci1_ Filed 05/29/19 Entered 05/29/19 15:32:30 Page 4 of 36

Plaintiff-Creditor Philip J. Sirlin (“Plaintiff”) as and for his Complaint against
Defendants-Debtors Ken Levy and Sharon Levy (“Defendants-Debtors”),

respectfully alleges:

JURISDICTION

1. On March 4, 2019, the Defendants-Debtors filed a voluntary petition for
relief under Chapter 7 of Title 11 of the United States Code in the United
States Bankruptcy Court for the District of Connecticut.

2. On April 8, 2019, the Defendants-Debtors’ duly noticed meeting of
creditors was held pursuant to Section 341(a) of the Bankruptcy Code.

3. As of the date of this Complaint, the Defendants-Debtors have not been
granted a discharge.

4. This Complaint is timely because the date by which a Complaint to
determine dischargeability of a debt expires on June 7, 2019.

5. This is an adversary proceeding in which the Plaintiff is objecting to the
Defendants-Debtors’ discharge under Bankruptcy Code § § 727(a)(3) and is
seeking a determination as to the dischargeability of the debt owed by the
Defendants-Debtors to Plaintiff under Bankruptcy Code §§523(a)(2)(A),

523(a)(4), and 523(a)(6).
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6. The Court has jurisdiction over this adversary proceeding pursuant to 28
U.S.C. § 1334 and Bankruptcy Code § § 523 and 727.

7. This case is a core proceeding pursuant to 28 U.S.C, § 157(b)(2)(I) and
157(b)(2)(J).

PARTIES

8. Plaintiff is an individual who resides at 7 Kisco Park Drive, Mount Kisco,
New York 10549-3908.

9. Plaintiff is a judgment creditor of the Defendants-Debtors.

10. Defendants-Debtors are the Debtors in the above-captioned case. At the
date of the issuance of the Judgment, July 20, 2015, Defendants-Debtors
resided at 10 Kisco Park Drive, Mount Kisco, New York 10549-3908. The
bankruptcy filing shows the address of Ken Levy to be 2400 Yorktown
Street, Apartment #58, Houston, Texas 77056, and the address of Sharon
Levy to be 50 Forest Street, Apartment 1620, Stamford, Connecticut
06901.

10 Kisco Park Drive, Mount Kisco, New York —

11. Plaintiff owns only one rental dwelling, a single-family house at 10 Kisco

Park Drive, Mount Kisco, New York 10549-3908 (“House”). This property

constitutes a major part of Plaintiff's total assets.
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12. Defendants-Debtors wished to rent House from Plaintiff to use as a
residence for themselves and their children.

13. Defendants-Debtors had an extremely poor credit history, as evidenced by
the large number of items in their current bankruptcy filing. The items in
the current bankruptcy filing cover a wide range of years, from before
Defendants-Debtors asked to rent the House from Plaintiff, up to the
present time.

14. Defendants-Debtors told Plaintiff that they had never been evicted from a
rental unit. Plaintiff replied upon this statement in making the decision to
rent to Defendants-Debtors in spite of their extremely poor credit history.
Plaintiff has recently become aware from the records in the Justice Court
of the Town of New Castle that this was not true; that in fact, Defendants-
Debtors had been evicted from at least one other residence prior to
renting the House from Plaintiff.

15. Defendants-Debtors stated that they did not have anyone who would co-
sign the lease for them.

16. When Plaintiff was considering whether to rent the House to Defendants-
Debtors, Defendants-Debtors advised Plaintiff that they had an on-going

bankruptcy filing.
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17. The current bankruptcy filing indicates that Defendants-Debtors had three
incomplete bankruptcy filings, originally filed on May 13, 2005, September
26, 2005, and April 11, 2006.

18. Defendants-Debtors made the offer to Plaintiff, as an inducement to be
accepted as tenants for the House, and to obtain the occupancy and
services of the House, in spite of their large number of debts, large total
amount of debt, and on-going bankruptcy filing, that they would agree,
verbally and in writing in the lease, to never attempt to have any obligation
in the lease discharged in a current or future bankruptcy filing.

19. After Defendants-Debtors offered that they would never attempt to have
any obligation in the least discharged in a current or future bankruptcy
filing, Defendants-Debtors and Plaintiff agreed on the following language,
which was subsequently included in the lease for the House as Paragraph
35:

“Tenants have advised Landlord that Tenants are parties to an on-
going bankruptcy action or intend to be parties to a bankruptcy
action in the future. Tenants agree that they have not and will not
attempt to have any obligation stated in this Lease or this

Attachment to Lease or any obligation to Landlord discharged or
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amended in this bankruptcy action or in any future bankruptcy
action, insolvency action, or similar action. Tenants must continue
to pay rent, damages, losses, and expenses without offset.”

20. Plaintiff relied upon this offer by Defendants-Debtors in Plaintiff's decision
to permit Defendants to rent and occupy the House.

21. Defendants-Debtors fell substantially behind in the rent.

22. Many checks that Defendants-Debtors gave to Plaintiff for rent were
returned by the Defendants-Debtors’ bank for Not Sufficient Funds (NSF).

23. At multiple times, Defendants-Debtors agreed to written payment plans to
catch up on past due rent, including payment plans that were written into
leases. Defendants always defaulted on these payment plans.

24. Defendants-Debtors asked Plaintiff to allow them to stay in the House
until their children graduated from high school in the Chappaqua School
District. These requests were always accompanied by a promise to pay,
and Defendants-Debtors continually pointed out the provision in the lease
that they would never ask to have the rent discharged.

25. Plaintiff relied on the agreement that the rent would eventually be paid,
and did not attempt to evict Defendants-Debtors, so that Defendants-

Debtors’ children could graduate from their high school in Chappaqua.
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26. After all of Defendants-Debtors’ children had graduated and were in
college, Defendants-Debtors began to pay almost no rent at all.

27. A settlement was reached, on July 16, 2015, between Plaintiff and
Defendants-Debtors that the sum of $152,422.00 was due and owing for
rental arrears through August 22, 2015. Plaintiff and Defendants-Debtors
were represented by counsel. The settlement included the provision that
Defendants would leave the House by August 23, 2015. Defendants-
Debtors left the House somewhat thereafter in September 2015.

28. A Stipulation of Settlement was submitted to the Justice Court of the
Town of New Castle, New York. On July 20, 2015, Town Justice Douglas M.
Kraus issued a Judgment of Money Award for Non-Payment for the sum of
$152,422.00. A Warrant of Eviction, which was stayed until August 23,
2015, was also issued.

29. Plaintiff never received any payment whatsoever for the Judgment. The
Defendants-Debtors never offered any payment for the Judgment.

30. At approximately the time of the Judgment, Defendants-Debtors’ wages
were attached for an old debt, thereby preventing any attachment of
wages by Plaintiff. The old debt was apparently approximately $400,000.

At the recent Creditors’ Meeting, the Bankruptcy Trustee asked about the
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reason for this debt. Defendant-Debtor Ken Levy responded that the
$400,000 debt was for accounting fees.

31. The Judgment for rental arrears was listed incorrected in the bankruptcy
filing. The amount listed in the bankruptcy filing is $147,972.00. In fact,
the original amount of the judgment is $152,422.00, no payment on the
Judgment was ever made, and the original amount has been increasing at
9% per annum since July 20, 2015. Also, although the amount of
$152,422.00 was a settlement agreed to by Defendants-Debtors and
Plaintiff, and the Judgment states that it was a settlement agreed to by the
Defendants-Debtors and Plaintiff, the bankruptcy filing lists it as
“disputed.”

32. After Plaintiff regained possession of the House, Plaintiff discovered that
tremendous damage had been done to the House. Plaintiff believes that
the amount and nature of the damage indicated that much of the damage
was malicious and intentional. The damage included:

a. Large, highly visible dents had been made in the stainless steel door
of the refrigerator.
b. Literally all of the plastic parts in the refrigerator had been broken.

c. The refrigerator icemaker had been physically broken.
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d. A toilet bowl had been smashed.

e. The central vacuum unit had been taken from the House.

f. The dishwasher had been used without a door seal for an extended
period of time, and the kitchen floor and the basement ceiling,
walls, and carpeting had been destroyed by leaking water.

g. Every towel rack and paper holder had been ripped from the walls.

h. There was extensive damage to the walls of the House.

i. The locks and frames of both the front and rear doors to the house
had been broken.

j. All of the kitchen and bathroom water faucets had been broken.

k. Both whirlpool tubs had been severely abused and clogged, and
required extensive repairs.

33. The cost of the repairs to the House exceeded $30,000.

34. Since Plaintiff had a Judgment, which was for rental arrears only, not
including any late fees or damage to the House, for $152,422.00, for which
Plaintiff had not been able to receive any payment, Plaintiff did not pursue
an additional judgment for damage to the House.

35. Defendants-Debtors asked Plaintiff if they could purchase his 1998 Jeep

Grand Cherokee. Plaintiff offered the vehicle to Defendants for $3,000.
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Defendants-Debtors accepted the price, and took possession of the
vehicle. However, Defendants-Debtors never paid Plaintiff for the vehicle.
Plaintiff now believes that Defendants-Debtors never intended to pay for
this vehicle, and Plaintiff now believes that the taking of possession of the
vehicle by the Defendants-Debtors was an act of larceny.

36. Plaintiff believes that the large number of debts, including both small and
large debts, in the Bankruptcy Filing over a large number of years,
including very recent debts, is evidence that the Defendants-Debtors have
long been engaged in the practice of acquiring goods and services through

false pretenses, false representations, actual fraud, or larceny.

COUNT I — NON-DISCHARGEABILITY OF PLAINTIFF’S JUDGMENT UNDER
SECTION 523(a)(2)(A) OF THE BANKRUPTCY CODE

37. Plaintiff repeats and re-alleges the allegations set forth in paragraphs 1
through 36 of this Complaint as if set forth at length herein.
38. Bankruptcy Code § 523(a)(2)(A) provides, in relevant part, that:
(a) A discharge under section 727, 1141, 1228(a), 1228(b), or 1328(b)

of this title does not discharge an individual debtor from any debt —

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(2) for money, property, services, or an extension, renewal, or
refinancing of credit, to the extent obtained by —

(A) false pretenses, a false representation, or actual fraud, other
than a statement respecting the debtor’s or an insider’s financial
condition ....

39. All or part of the debt owed to Plaintiff, as evidenced by the Judgment
entered against the Defendants, is non-dischargeable as it is a debt for
money, property, services, or an extension, renewal, or refinancing of
credit, that was obtained by false pretenses, a false representation, or
actual fraud within the meaning of Bankruptcy Code § 523(a)(2)(A).

40. Defendants-Debtors used false pretenses and false representation to
Plaintiff to obtain the occupancy and services of the House, in spite of
Defendants-Debtors large number of debts, large total amount of debt,
and on-going bankruptcy filing, by offering to agree, verbally and in writing
in the lease, to never attempt to have any obligation in the lease
discharged in a bankruptcy filing. Plaintiff relied upon this false pretense
and false representation in allowing the Defendants-Debtors to have the

occupancy and services of the House.

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41. Defendants-Debtors used false pretenses and false representation to
Plaintiff to obtain the occupancy services of the House, in spite of
Defendants-Debtors large number of debts, large total amount of debt,
and on-going bankruptcy filing, by falsely stating that Defendants-Debtors
had never been evicted from a rental unit. Plaintiff relied upon this false
pretense and false representation in allowing the Defendants-Debtors to
have the occupancy and services of the House. Plaintiff has recently been
advised by the Justice Court of Town of New Castle that Defendants-
Debtors had been evicted from at least one residence in the Town of New

Castle prior to Defendants-Debtors renting the House from Plaintiff.

COUNT II - NON-DISCHARGEABILITY OF PLAINTIFF’S JUDGMENT UNDER
SECTION 523(a)(4) OF THE BANKRUPTCY CODE
42. Plaintiff repeats and re-alleges the allegations set forth in paragraphs 1
through 41 of this Complaint as if set forth at length herein.
43. Bankruptcy Code § 523(a)(4) provides, in relevant part, that:
(a) A discharge under section 727, 1141, 1228(a), 1228(b), or 1328(b)

of this title does not discharge an individual debtor from any debt —

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(4) for fraud or defalcation while acting in a fiduciary capacity,
embezzlement, or larceny....

44. All or part of the debt owed to Plaintiff, as evidence by the Judgment
entered against the Defendants-Debtors, is non-dischargeable as it is a
debt for fraud or defalcation while acting in a fiduciary capacity,
embezzlement, or larceny within the meaning of the Bankruptcy Code §
523(a)(4).

COUNT IH — NON-DISCHARGEABILITY OF PLAINTIFF’S JUDGMENT UNDER
SECTION 523(a)(6) OF THE BANKRUPTCY CODE

45. Plaintiff repeats and re-alleges the allegations set forth in paragraphs 1
through 44 of this Complaint as if set forth at length herein.

46. Bankruptcy Code § 523(a)(6) provides, in relevant part, that:

(a) A discharge under section 727, 1141, 1228(a), 1228(b), or 1328(b)

of this title does not discharge an individual debtor from any debt

(6) for willful and malicious injury by the debtor to another entity or

to the property of another entity...

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47. All or part of the debt owed to Plaintiff is non-dischargeable as it is a debt
for willful and malicious injury caused by the Defendants-Debtors within

the meaning of Bankruptcy Code § 523(a)(6).

COUNT IV — OBJECTION TO DEBTOR’S DISCHARGE UNDER
SECTION 727(a)(3) OF THE BANKRUPTCY CODE
48. Plaintiff repeats and re-alleges the allegations set forth in paragraphs 1
through 47 of this Complaint as if set forth at length herein.

49. Bankruptcy Code § § 727(a)(3) provides that:
(a) The court shail grant the debtor a discharge, unless...
(3) the debtor has concealed, destroyed, mutilated, falsified, or failed
to keep or preserve any recorded information, including books,
documents, records, and papers, from which the debtor’s financial
condition or business transactions might be ascertained, unless such
act or failure to act was justified under all of the circumstances of the
case;

50. The Defendants-Debtors, in their operation of their various businesses,

including Combustion Marketing, concealed, destroyed, mutilated,

falsified, or failed to keep or preserve any recorded information, including

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books, documents, records, and papers, from which the Defendants-
Debtors’ financial condition or business transactions might be
ascertained.

51. By virtue of the foregoing, the Defendants-Debtors’ discharge should be
denied under Bankruptcy Code § 727(a)(3).

WHEREFORE, Plaintiff respectfully requests that this Court enter a
judgment determining that the debt reflected in the Judgment entered in
favor of Plaintiff against the Defendants-Debtors, dated July 20, 2015, for the
sum of $152,422.00, is non-dischargeable under Bankruptcy Code § §
523(a)(2)(A), 523(a)(4), and 523(a)(6) or, in the alternative, denying the
Defendants-Debtors discharge under Bankruptcy Code § 727(a)(3), and
granting Plaintiff such other and further relief as this Court may deem just and
proper.

Dated: May 29, 2019

  

 

Philip J. Sirlin, Pro Se, Plaintiff
7 Kisco Park Drive

Mount Kisco, New York 10549-3908
(914) 666-2159

15
Case 19-05013 Doci1 Filed 05/29/19 Entered 05/29/19 15:32:30 Page 18 of 36
Our File No: 18787 .

JUSTICE COURT OF THE TOWN OF NEW CASTLE Court Index No: 15070164

COUNTY OF WESTCHESTER
X

 

PHILIP J. SIRLIN, ge
Petitioner, Judgment of Money Award

~ against ~ .
for Non-Payment
KENNETH S. LEVY & SHARON M. LEVY
*"JOHN DOK 1 - 10 & *JANE DOR 1 - 10”
10 KISCO PARK DR (HOUSE)
MOUNT KISCO NY 10549,
Respondents.

x

 

JUDGMENT for Non-Payment is hereby rendered in favor of Petitioner/Landlord

PHILIP J. SIRLIN
Conducting business at 10 KISCO PARK DR (HOUSE), MOUNT KISCO NY 10549

A NOTICE OF PETITION containing a notice of demand for judgment for rent gue,
together with the petition, having been duly filed in the office of the Clerk of this
Court, and proof of service of said notice of petition and petition having been duly
filed within three days after service of said papers and it appearing that the
Respondents/Tenants having been ‘duly served with the notice of petition and petition, and
the notice of petition having been made returnable before the Court on July 16, 2015 at
6:30 p.m. and that the Respondents/Tenants having appeared and answered and having
entered into a written stipulation with Counsel at the time and place designated in the
notice of petition

NOW ON MOTION OF STEPHEN P. DEWEY, ESQ., Attorney for Petitioner, it is

ADJUDGED that possession of the premises described in the petition be awarded to
the Petitioner/Landlord with the costs of this proceeding; and that

Petitioner/Landiord PHILIP J. SIRLIN, conducting business at 10 KISCO PARK DR
(HOUSE), MOUNT KISCO NY 10549 ‘

do recover of Respondents/Tenants KENNETH S. LEVY & SHARON M. LEVY residing at
10 KISCO PARK DR (HOUSE), MOUNT KISCO NY 10549 the sum of $152.422.00 the amount
determined to be due the Petitioner/Landlord for rent, per written stipulation amounting
ap all to the sum of $152.422.00, and that the Petitioner/Landlord have execution
therefore.

ADJUDGED that a Warrant of Eviction issue, such issuance and enforecement therein
be stayed to and including the 23rd day of August, 2015.

lao 2? Keane

HON. DOUGEAS M. KRAUS gen Justice
Justice rt of the ny ee New Castle

DATED: July QC, 2015
ENTE

  

JUDGMENT ENTERED IN ACCORDANCE WITH THR FOREGOING:

DATED: © 1 30] is
Dilemma delhi

Clerk of the Justice Court of the Town of New Castle
ul 16 2015 aan STEPHEN P DEWEY ESQ 91492364U3 | _ page <-
ase 19-05013 Doc1 Filed 05/29/19 Entered 05/29/19 15:32:30 Page 19 of 36

Our Pile #: 18287 ce. c

JUSTICE COURT OF SHE TOWN OF CORTEARE Ee . .
COUNTY OF WESTCHESTER Dates O7/sis, Coe twdex Nas SOF OIF
coe sectumysusennecenstamnuverenstsenanecseavatscuecense gon/otnet® x oe
PHILIP J. SIRLIN Stipulation of Sottivment
., 9 . a stand A K igh
apalns Pelttoner/Landtord, to eee ee tient. to thet eee Pee Elma and .
o~ against ~ . tha tight not to ontor inte a atipojation af

Settee Renovo ts attr 4 vraviow of a the fesuee,
segs . the pariies agrua that thay dd not, waat £o 90 to trie
RENNETI S. LEVY & SHARON M1, LEVY, and Geatead egraa to tha Llodiowlag:

Respondents/Tenants.,,

ITI STIPULATED AND AGRERD between the Poll foner/Lanclord (hereinafter *Potitioncr") ard the
Respondesii(s} Ponant(s} {heredna fter “Respondcnts") that the nbove entitl ed matter Is settled on tho following terms and

conditions: .

 

1. Patties hereby consent to the fuisdiction of tits Court, and enter into this Spatation willingly and wihoul duress.

4, The Respondent's adinit and acknewledge Petitioner's nllegations sot forth in tha underlying Petlifon In this action,
avd that the Peitfton 1s amended and the sant of $152,422.00 for rental arrears through August 22, 2015, shall be duc

and owing.

3. ‘Tho Respondents agres and consent to both:
1) Sudginent of Possession and Warrant shall issue with a stay thraugl August 22, 2018, nid

2) Money Judgment in (he amount of$152,422.00, the Issuance and en(ty (hoveln stayed NO
Angust 23, 2015. LA Hae. eesti *

4, Tho Respondents shall vacate the promises on pr bofore Atigust 22, 2015. Respondents agro 10 leave the premises
iy a broom clean condition, Upon vacatur Respondents shall conlaot Pelifloner divectly to turn over all keys fo the
subject premises, Respondents undorstarid thal fatwa (o vacale the prentises on of before August 22, 2015,
Palitlaner stay conunence oviction proccerings, | noluding the Issuance and service of the Warrant with 72-Hour
Notice, Respandents uderstand that wpon issuance afsald Warrant, Respondents may be evicted thereaRer,

Ss. This further agreed that a facsimile copy or alectronle signature of this Stipulation shall suffice as an orlginal ad
nuy be filed without further notice.

   
 

Pot iflonce: Philp J. Sirlin

' by!

    
 
 

STEAIL
Attorney for tho Pell!

Shapiro Gettinger & Waddinger, LLP *
Attoxne’ r enant

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finished or unfurnished, 7-04 www.blumberg.com

  

LEASE AGREEMENT
The Landlord and Tenant agree to lease the Premises at the Rent and for the Term stated on these terms:

LANDLORD: . TENANT:

Philip J. Sirlin oo Kenneth 5. Levy

 

Sharon Me Vey cc cecccecsesennnenennannuseerene
Address for Notices

 

 

 

 

 

 

 

 

7 Kisco Park Drive, Mount Kisco, NY. 10 Kisco Park Drive, Mount Kisco, NY
Premises: 10 Kisco P ark Drive, Mount Kisco, _New York 10 549-3908 vacecsusesneesuneccosesenssteeeseneunucneereeseece
Lease date: | Term OMe Year eee | Yearly Rent $48,000.00
June 30 20.14. | beginning YULY te 29.14. | Monthly Rent $..42900.00_

ending June 30, 000. 20.15. | Security $3,800.00
1. Use

The Premises must be used to live in only and for no other reason. Only a party signing this Lease, spouse and children
of that party may use the Premises.

2. Failure to give possession

Landlord shall not be liable for failure to give Tenant possession of the Premises on the beginning date of the Term.
Rent shall be payable as of the beginning of the Term unless Landlord is unable to give possession. In that case rent shall be
payable when possession is available. Landlord will notify Tenant as to the date possession is available. The ending date of
the Term will not change.

3. Rent, added rent
The rent payment for each month must be paid on the first day of that month at Landlord’s Address above. Landlord

need not give notice to pay the rent. Rent must be paid in full and no amount subtracted from it. The first month’s rent is
to be paid when Tenant signs this Lease. Tenant may be required to pay other charges to Landlord under the terms of this
Lease. They are to be called “added rent.” This added rent is payable as rent, together with the next monthly rent due. Tf
Tenant fails to pay the added rent on time, Landlord shall have the same rights against Tenant as if it were a failure to pay
rent.

The whole amount of rent is due and payable when this Lease is effective. Payment of rent in installments is for Ten-
ant’s convenience only. If Tenant defaults, Landlord may give notice to Tenant that Tenant may no longer pay rent in install-
ments. The entire rent for the remaining part of the Term will then be due and payable.

4. Notices

Any bill, statement or notice must be in writing and delivered or mailed to the Tenant at the Premises and to the Land-
Jord at the Address for Notices. It will be considered delivered on the day mailed or if not mailed, when left at the proper
address. Any notice must be sent by certified mail. Landlord must send Tenant written notice if Landlord changes the Ad-
dress for Notices.

5. Security

Tenant has given Security to Landlord in the amount stated above, If Tenant fully complies with all the terms of this
Lease, Landlord will return the security after the Term ends. If Tenant does not fully comply with the terms of this Lease,
Landlord may use the Security to pay amounts owed by Tenant, including damages. If Landlord sells the Premises, Landlord
may give the Security to the buyer. Tenant will look only to the buyer for the return of the Security.

6. Utilities and services

Tenant must pay for the following utilities and services when billed: gas, water, electric, fuel, telephone, gardening,
exterminating**

cable television, Internet access, garbage collection, snow and ice removal,
septic tank pumping, amd other services itemized in the Attachment to Lease.

Maintenance service contracts shall be maintained, continued and paid for by Tenant. These charges will be added
rent,

7. Furnishings
6. UGliie 20d080ties Doc 1 Filed 05/29/19 Entered 05/29/19 15:32:30 Page 21 of 36

Tenant must pay for the following utilities and services when billed: gas, water, electric, fuel, telephone, gardening,
exterminating*™

cable television, Internet access, garbage collection, snow and ice removal,
septic tank pumping, and other services itemized in the Attachment to Lease.

Maintenance service contracts shall be maintained, continued and paid for by Tenant. These charges will be added

rent. .
7. Furnishings

lf the Premises are furnished, the furniture and other furnishings are accepted “as is.” If an inventory is supplied
each party shall have a signed copy.
8 Repairs, alterations

Tenant must keep, and at the end of the Term return the Premises and all appliances, equipment, furniture, furnish-
ings and other personal property clean and in good order and repair. Tenant is not responsible for ordinary wear and dam-
age by the elements. If Tenant defaults, Landlord has the right to make repairs and charge Tenant the cost. The cost will
be added rent. Tenant must not alter, decorate, change or add to the Premises.
9. Space “‘as is”’

Tenant has inspected the Premises. Tenant states that they are in good order and repair and takes the Premises “as is.”

10. Care of Premises, grounds

s neat and clean. Vehicles may be driven or, parked only in driveways or in the garage.

      
  

Tenant shall keep the f

** Add other utilities and services, if any.

 
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Tenant must give Landlord immediate notice in case of fire or other damage to the Premises. Landlord will have the
right to repair the damage within a reasonable time or cancel this Lease. If Landlord repairs, Tenant shall pay rent only
to the date of the fire or damage and shall start to pay rent again when the Premises become usable. Landlord may cancel
the Lease by giving Tenant 3 days’ written notice. The Term shall be over at the end of the third day and all rent shall be
paid to the date of the damage.

12. Liability

Landlord is not liable for loss, expense or damage to any person or property unless it is due to Landlord’s negligence.
Tenant must pay for damages suffered and money spent by Landlord relating to any claim arising from any act or neglect of
Tenant. Tenant is responsible for all acts of Tenant’s family, employees, guests and invitees.

13. Landlord’s consent

If Tenant requires Landlord’s consent to any act and such consent is not given, Tenant's only right is to ask the Court
to force Landlord to give consent. Tenant agrees not to make any claim against Landlord for money or subtract any sum
from the rent because such consent was not given.

14. Assignrnent, sublet

Tenant may not sublet all or part of the Premises, or assign this Lease or permit any other person to use the Premises.

15. Landlord may enter, keys, signs

Landlord may at reasonable times, enter the Premises to examine, to make repairs or alterations, and to show it to
possible buyers, lenders or tenants. Tenant must give to Landlord keys to all locks. Locks may not be changed or additional
locks installed without Landlord’s consent. Doors must be locked at all times. Windows must be locked when Tenant is out.
Landlord may place the usual “For Rent” or “For Sale” signs upon the Premises.

16. Subordination

This Lease and Tenant’s rights are subject and subordinate to all present and future (a) leases for the Premises or the
land on which it stands, (b) mortgages on the leases or on the Premises or on the land, (c) agreements securing money paid or
to be paid by the lender, under mortgages, and (d) terms, conditions, renewals, changes of any kind in and extensions of the
mortgages or leases or Lender agreements. Tenant must promptly execute any certificate(s} that Landlord requests to show
that this Lease is subject and subordinate,

17. Condemmation

If all of the Premises is taken or condemned by a legal authority, the Term, and Tenant’s rights shall end as of the
date the authority takes title to the Premises. If any part of the Premises is taken, Landlord may cancel this Lease on notice
to Tenant setting forth a cancellation date not less than 30 days from the date of the notice. If the Lease is cancelled, Tenant
must deliver the Premises to Landlord on the cancellation date together with all rent due to that date, The entire award for
any taking belongs to Landlord. Tenant gives Landlord any interest Tenant might have to any part of the award and shall make
no claim for the value of the remaining part of the Term.

18. Compliance with authorities

Tenant must, at Tenant’s cost, promptly comply with all laws, orders, rules and directions of all governmental author-
ities, property owners associations, insurance carriers or Board of Fire Underwriters or similar group. Tenant may not do
anything which may increase Landlord’s insurance premiums, If Tenant does Tenant must pay the increase as added rent.

19. Tenant’s defaults and Landlord’s remedies
A. Landlord may give 5 days written notice to Tenant to correct any of the following defaults:
1. Failure to pay rent or added rent on time.

2. Improper assignment of the Lease, improper subletting all or part of the Premises, or allowing another to use
the Premises. ,

3. Improper conduct by Tenant or other occupant of the Premises.

4, Failure to fully perform any other term in the Lease.

B. If Tenant fails to correct the defaults in section A within the 5 days, Landlord may cancel the Lease by giving
Tenant a written 3 day notice stating the date the Term will end. On that date the Term and Tenant's rights in this Lease auto-
matically end and Tenant must leave the Premises and give Landlord the keys. Tenant continues to be responsible for rent,
expenses, damages and losses.

C. If the Lease is cancelled, or rent or added rent is not paid on time, or Tenant vacates the Premises, Landlord may
in addition to other remedies take any of the following steps:
1. Use dispossess, eviction or other lawsuit method to take back the Apartment, and
2. To the extent permitted by law, enter the Apartment.andxemoye Tenant and any person or property.
D. If the Lease is ended or Landlord takes back the Premises, rent and added rent for the unexpired Term becomes
due and payable. Landlord may re-rent the Premises and anything in it for any Term. Landlord may re-rent for a lower rent
and give allowances to the new tenant. Tenant shall be responsible for Landlord’s cost of re-renting. Landlord’s cost shall

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the Premises. _’ . Ta -
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4. Failure to fully perform any other term in the Lease.

B. lf Tenant fails to correct the defaults in section A within the 5 days, Landlord may cancel the Lease by giving
Tenant a written 3 day notice stating the date the Term will end. On that date the Term and Tenant's rights in this Lease auto-
matically end and Tenant must leave the Premises and give Landlord the keys. Tenant continues to be responsible for rent,
expenses, damages and losses.

C. If the Lease is cancelled, or rent or added rent is not paid on time, or Tenant vacates the Premises, Landlord may
in addition to other remedies take any of the following steps:

1. Use dispossess, eviction or other lawsuit method te take back the Apartment, and
2. To the-extent permitted by law, enter the Apartment and remove Tenant and any person or property.

D. If the Lease is ended or Landlord takes back the Premises, rent and added rent for the unexpired Term becomes
due and payable. Landlord may re-rent the Premises and anything in it for any Term. Landlord may re-rent for a lower rent
and give allowances to the new tenant. Tenant shall be responsible for Landlord’s cost of re-renting. Landlord’s cost shall
include the cost of repairs, decorations, broker’s fees, attorney’s fees, advertising and preparation for renting. Tenant shall
continue to be responsible for rent, expenses, damages and losses. Any rent received from the re-renting shall be applied to
the reduction of money Tenant owes, Tenant waives all rights to return to the Premises aiter possession is given to the Land-
lord by a Court.

20. Bankruptcy

If (1) Tenant assigns property for the benefit of creditors, (2) Tenant files a voluntary petition or an involuntary
petition is filed against Tenant under any bankruptcy or insolvency law, or (3) a trustee or receiver of Tenant or Tenant's
property is appointed, Landlord may give Tenant 30 days notice of cancellation of the Term of this Lease. If any of the above
is not fully dismissed within the 30. days, the Term shall end as of the date stated in the notice. Tenant must continue to pay
rent. damages, losses and expenses without offset.

21. Correcting tenant’s default

If Tenant fails to correct a default after notice from Landlord, Landlord may correct it for Tenant at Tenant’s ex-
pense. The sum Tenant must repay to Landlord will be added rent.

22, Waiver of jury, counterclaim, set off

  

Landlord and Tenant waive trial by a jury in any mratter which comes ap be . the’parties ander or because of
this Lease (except for a personal injury or property damage py creo t

shall not have the right to make a counterclaim or set off.
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en instructions

Landlord has given or-may give written instructions about the care and use of the appliances, equipment and other
personal property on the Premises. Tenant must obey the instructions.

24. I[egality
If any part of this Lease is not legal, the rest of the Lease will be unaffected.

25. No waiver
Landlord’s failure to enforce any terms of this Lease shall not prevent Landlord from enforcing such terms at a later time.

26. Quiet enjoyment

Landlord agrees that if Tenant pays the rent and is not in default under this Lease, Tenant may peaceably and quietly
have, hold and enjoy the Premises for the Term of this Lease.
27. Successors

This Lease is binding on all parties who lawfully succeed to the rights or take the place of the Landlord or Tenant.

28. Representations, changes in Lease

Tenant has read this Lease. All promises made by the Landlord are in this Lease, There are no others. This Lease may
be changed only by an agreement in writing signed by and delivered to each party.

29. Paragraph headings

The Paragraph headings are for convenience only.

30. Effective date
This Lease is effective when Landlord delivers to Tenant a copy signed by all parties.

31. Attachment to Lease

The Attachment to Lease, which is nine pages in length, is attached to
and an integral part of this Lease. If any provision of the Attachment to
Lease that is valid, legal, and enforceable disagrees with any other provision
of this Lease, the provision in the Attachment to Lease shall be the
determining provision, and shall have precedence over any conflicting provision
in any other part of this hease.

32. Total Amount Due

The total amount due from Tenants to Landlord for past due rent and
current rent for the term of this Lease is $161,340 {one hundred sixty-one
thousand three hundred forty dollars). Tenants agree to pay this amount in
full without offset or counterclaim.

This Lease and Attachment to Lease has been subscribed and sworn to (or

affirmed) before me this day of ) ? 20/4 , by

 

 

 

Dat: Yonth Year
“Kenneth S. Levy, Terart—————— Philip f- [Fae Lanttexd

  
  

 

  
       
   

 
 

RISTOPHER JOHN MCBRIDE .~-":
Notary Public - State of New York: ~
NO. 01MC6283804 -
Qualified in Westchester County:
My Commission Expires Jun-17,-2017

Gharon M. Levy, Tefdnt

hit.

Signatute of Notary Public

Signatures The parties have entered into this Lease on the date first above stated.

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CHRISTOPHER JOHN MCBRIDE
Notary Public - State of New York: ~
NO. O1MG6283804 .
Qualified in Westchester County ~

mmission Expires Jun.17,-2017

Sharon M. Levy, Tebdnt

CRE

Signatute of Notary Public

Signatures The parties have entered into this Lease on the date first above stated.

  

TENANT:

 

   

WITNESS: ene

 

Shafon M. bevy L/ a C

 

 

EPA and HUD Lead Paint Regulations, Effective September 6, 1996"
‘Landlords must disclose known lead-based paint and lead-based paint hazards of pre-1978 housing to tenants.’ Use the following
BLUMBERG LAW PRODUCTS (800 LAW MART) to comply:
3140 Lead Paint Information Booklet 3141 Lead Paint Lease Disclosure Form
“December 6, 1996 for owners of 1 to 4 residential dwellings.

“Leases for less than 100 days, 0-bedroom units, elderly and handicapped housing (unless children live there) snd housing found to be leud-free by 4 certified
inspector are excluded.

 

 

 
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Philip J. Sirlin

7 Kisco Park Drive

Mount Kisco, New York
10549-3908 ~

TO
Kenneth S&S. Levy and
Sharon M. Levy
10 Kisco Park Drive
Mount Kisco, New York
10549-3908

 

 

‘Lease

June | 30, 2014 .

 

 

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Date . seesceneceenny Ween

June » 30, 2015

Expires .. cescutnrawtrenenensewsemennesccensay BU cnencace

in Lease, and Past Due Balance

 
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Attachment to Lease -

Premises: 10 Kisco Park Drive, Mou . Kisco, New York 10549-3908
Philip J. Sirlin, Landlord .
Kenneth S. Levy and Sharon: M. Levy, Tenants

Term of Lease: One Year, Beginning July 1, 2014 and Ending June 30, 2015

   
  

(33) This Attachment to Lease, nine pages long and consisting of paragraphs
33 through 65, is attached to and an integral part of this Lease. If any provision
of this Attachment to Lease that is valid, legal, and enforceable disagrees with
any other provision of this Lease, the provision in this Attachment to Lease shall
be the determining provision, and shall have precedence over any conflicting
provision in any other part of the Lease.

(34) If any provision of this Lease or this Attachment to Lease shall be invalid,
illegal, or unenforceable in any respect, such invalidity, illegality, or
unenforceability shall not affect the other provisions of this Lease or this
Attachment to Lease, which shall remain in full force and effect.

(35) Tenants have advised Landlord that Tenants are parties to an on-going
bankruptcy action or intend to be parties to a bankruptcy action in the future.
Tenants agree that they have not and will not attempt to have any obligation
stated in this Lease or this Attachment to Lease or any obligation to Landlord
discharged or amended in this bankruptcy action or in any future bankruptcy
action, insolvency action, or similar action. Tenants must continue to pay rent,
damages, losses, and expenses without offset.

(36) This Lease and this Attachment to Lease set forth the entire agreement of
the parties hereto with réspect to the subject matter hereof. It is the intention of
Tenants and Landlord that this Lease and this Attachment to Lease shall be the
sole source of agreement of the parties, and, except to the extent a provision of
this Lease or this Attachment to Lease is expressly prohibited or ineffective
under the laws of the State of New York, or the laws of the United States, this
Lease and this Attachment to Lease shall govern even when inconsistent with,
or different from, the provisions of any applicable law or rule. To the extent any
provision of this Lease or this Attachment to Lease is prohibited or otherwise
ineffective under the laws of the State of New York, or the laws of the United
States, such provision shall be considered to be ineffective to the smallest
degree possible in order to make this Lease and this Attachment to Lease
effective under the laws of the State of New York and the laws of the United
States. If the laws of the State of New York or the laws of the United States are
subsequently amended or interpreted in such a way to make any provision of
this Lease or this Attachment to Lease that was formerly invalid valid, such
provision shall be considered to have been valid from the effective date of such
interpretation or amendment.

Approved by Kenneth S. Levy | i Z Sharon M. Levy pe Philip J. Sirlin

Attachment to Lease page 1 of 9
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(37) This Lease and this Attachment to Lease replace all previous Leases and
Attachments to Leases, except that the following amounts are agreed to as
correct, accurate, precise, and complete by Landlord and each of the Tenants
and are carried forward an ded in this Lease and this Attachment to Lease:

a. The security depos 53,800 (three thousand eight hundred dollars),
and, a

b. The balance due from nants to Landlord of $112,855 (one hundred
twelve thousand eight hundred fifty-five dollars) for past due rent as of
June 30, 1014, as described in paragraph 58 below.

(38) Tenants agree that they will not transfer money to another individual or
entity to avoid payment of rent and that they will pay the rent due under this
lease before any other debt or obligation.

(39) Tenants may keep their current pets, two dogs, at the Premises. Tenants.
must obtain Landlord’s approval any new or additional pets before they may
enter or reside at the Premises. Tenants are responsible for any and all damage
to the Premises including but not limited to house, shed, walls, floors, lighting,
driveway, trees, plants, lawn, and grounds caused by pets. Tenants will be
responsible for all costs of the repair of any damage caused by pets, and none
of this damage will be considered acceptable or normal wear and tear. Tenants
will be responsible for the extermination of any pests, such as fleas, from the
house. Tenants will pay the cost and be responsible for the removal of any
unauthorized animals from the house.

(40) Tenants must pay for all utilities and services when billed, including but
not limited to water, electricity, fuel oil, telephone, cable television, Internet
access, garbage collection (currently $485.00 per annum), gardening,
exterminating, chimney cleaning, septic tank pumping, maintenance of
landscaping, security system, oil burner cleaning and maintenance, indoor
cleaning, outdoor cleaning, comprehensive maintenance on appliances and
heating system, carpet cleaning, and removal of snow and ice from the
Premises. If Landlord makes any payment for any utilities or services, the
amount of such payment shall be charged to Tenants as added rent. Tenants
must pay any and all fees associated with false security system alarms.

(41) Tenants must keep, and at the end of the Term return, the Premises and
all appliances, equipment, furniture, furnishings, and other personal property
clean and in good order and repair. Tenants are responsible for any and all
damage to the Premises including but not limited to house, shed, walls, floors,
lighting, driveway, trees, plants, lawn, and grounds, from any known or unknown
cause whatsoever. Tenants’ responsibility will be reduced by payments that
Landiord receives from Landlord's insurance policy. If Tenants default, Landlord
has the right to make repairs and charge Tenants the cost. The cost will be
added rent. Tenants must not alter, decorate, change, or add to the Premises.
Tenants must notify Landlord before any repairs are made. All repairs must be
made in the manner determined by Landlord. Landlord may enter the Premises
at any time whatsoever to make emergency repairs. All kitchen appliances,
refrigerators, and air conditioners are the property of Landlord.

  
    
 

Approved by Kenneth S. Levy Sharon M. Levy = Philip J. Sirlin

Attachment to Lease page 2 of 9
‘Case 19-05013 Doci1_ Filed 05/29/19 Entered 05/29/19 15:32:30 Page 29 of 36

(42) Landlord is currently in the process of subdividing the Premises. Tenants
will permit the grounds to be entered at any reasonable time to facilitate the
subdivision process. Tenants will permit any activity on the grounds that is part
of the subdivision process, as the digging of holes to perform tests. If the
subdivision is granted d term of this Lease, the Premises to which this
Lease applies shall not change and will continue to include the entire property of
approximately 0.85 acres.

(43) Tenants acknowledge that Landlord has disclosed lead-based paint and
lead-based paint hazards on the Premises, that Tenants are fully aware of the
likelihood of lead-based paint on the Premises, and that Tenants are fully aware
of the hazards of lead-based paint. Landlord has provided Tenants with
Disclosure of Information on Lead-Based Paint and or Lead-Based Paint
Hazards, which is attached to this Lease. Landlord has provided Tenants with |
the pamphlet Protect Your Family from Lead in Your Home. a

(44) Tenants will maintain the house at a temperature of not less than 55
degrees Fahrenheit. If Tenants fail to perform this obligation, Landlord may
immediately enter the Premises and take whatever actions are necessary to
maintain 55 degrees Fahrenheit. Tenants will be charged for all actions taken to
maintain 55 degrees Fahrenheit as added rent.

(45) Tenants may not cause any vendor, person, corporation, or other entity to
impose a lien against the Premises. Tenants will be responsible for any and all
liens, assessments, or fines that are assessed against the Premises.

(46) Tenants have no authority to incur any debt or make any charge against
Landlord, or grant any lien upon the Premises. Tenants have no right to contract
for services or materials used for the improvement of the Premises.

(47) * Tenants must obey all laws and regulations of the Town of New Castle,
Westchester County, and New York State, and must pay all fines or fees caused
by Tenants failure to obey such laws. For example, but not limited to, Tenants
must obey laws and regulations related to garbage recycling.

(48) The shed, the boiler room in the northwest part of the basement, the
storage room in the northeast part of the basement, the closet in the northeast
corner of the room in the northwest part of the basement, and the garage are
reserved for the exclusive use of Landlord. Landlord may receive mail at the
Premises, and Landlord shares use of the mailbox at the Premises with Tenants.

(49) The room in the northwest part of the basement contains a Steinway piano
that is the property of Landlord. If Tenants wish to play the piano, or move it to
another part of the house, Tenants may do so, but in this case, Tenants will be
responsible for all costs of tuning the piano and all costs of repairing any
damage that may result to the piano or the house.

(50) The Premises shall be maintained by Tenants as a non-smoking
residence, and Tenants shall not permit anyone to smoke at the Premises.
Tenants will be responsible for the cost of removing any smell of smoke from the
Premises.

(51) The kitchen and bathrooms must be cleaned using Gel-Gloss®, a product
that is sold by TR Industries of South Gate, California, and is available at Home
Depot and other retailers. No other cleaning product may be used in the kitchen

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Approved by Kenneth S. Levy Sharon M. Levy j LZ. Philip J. Sirlin |

Attachment to Lease page 3 of

 
   
      
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and bathrooms. if any other cleaning product is used, Tenants will be
responsible for all degradation of the surfaces, and all costs of restoration. If any
other cleaning product is used, the degradation to the surfaces will be
considered damage done by Tenants, and will specifically not be considered
“normal wear and tear.” rlpool tubs in the bathrooms are particularly
sensitive due to the nature of their surfaces and internal mechanisms. Only
clean water may be used in the tubs when the whirlpool mechanism is activated.
No soap, bath oil, bubble bath, or additive of any kind may be used when the
whirlpool mechanism is operating. The tub must be filled with clean water to two
inches above all inlets and jets before the whirlpool mechanism is turned on.
The whirlpool mechanism must be turned off before the tub is drained. The
whirlpool mechanism will be damaged if operated without water for even a very
short period of time. The whirlpool tubs must be polished monthly with Gel-
Gloss® (Bath and Shower). A

(52) Tenants will maintain the lawns, trees, and all plantings of any kind at the
Premises. Such maintenance shall include, but not be limited to, watering when
necessary and lawful. Tenants may not remove, or allow to be removed, any
plant of any kind from the premises

(53) The Premises are deemed to have been in perfect condition at the time of
the beginning of the occupancy of the Premises by the Tenants, and any repairs
or maintenance that may have become necessary during occupancy of the
Premises by the Tenants prior to this lease are carried over to this Lease, and
become obligations of Tenants under this Lease. Tenants agree that they are
responsible for all damage during this Lease or during their occupancy prior to
this Lease, including, but not limited to, destruction of the large bush at the
northeast corner of the house, damage to the toilet and bathroom on the lower
level of the house, damage to the refrigerator door, and damage to screens and
windows. Tenants agree that this damage, and all other damage, will be
repaired at Tenants’ expense during the first three months of this Lease.
Repairs will be made under the supervision of the Landlord, and in the manner
specified by the Landlord.

(54) All payments made by Tenants to Landlord for obligations under this
Lease will be credited first to added rent and any other special obligations, and
second to monthly rent, to be applied to months in chronological order, as
indicated in paragraph 58 below.

(55) Landlord and each of the Tenants agree that the following Rent Record is
correct, accurate, precise, and complete, and that as of June 30, 2014, Tenants
owe Landlord $112,855 (one hundred twelve thousand eight hundred fifty-five
dollars) for rent for the partial month January 2012, and the full months February
2012 through June 2014. Landlord and Tenants agree that this prior balance is
an integral part of this Lease and this Attachment to Lease, and that rent in the
amounts and for the months itemized below is due and payable by Tenants to
Landlord in the same manner as rent for the months included in the term of this
Lease and this Attachment to Lease. Because of the past due balance, Tenants
and Landlord agree that the total amount due by Tenants to Landlord under this
Lease through the end of this Lease is $161,340 (one hundred sixty-one

    
   
 
 

Approved by Kenneth S. Levy ’___ Sharon M. Levy lV a Philip J. Sirlin
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thousand three hundred forty dollars). Whenever this Lease or Attachment to
Lease uses the term Tenants, this means each of the Tenants individually as
well as both of the Tenants collectively. The phase Each of the Tenants is used
for emphasis, and has exa same meaning as Tenants.

(56) Kenneth S. Levy : n M. Levy, as Tenants, individually and jointly,
assign to Philip J. Sirlin, a ord, all distributions of any kind from Capitalist
Theads, LLC, and any o company, corporation, or other entity, until all
current rent, past due rent, and added rent for the premises 10 Kisco Park Drive,
Mount Kisco, New York has been paid in full. This assignment of distributions of
any kind survives the termination date of this Lease and continues until all
current rent, past due rent, and added rent has been paid in full.

(57) Kenneth S. Levy and Sharon M. Levy, as Tenants, individually and jointly,
agree that if any current rent, past due rent, or added rent for the premises 10
Kisco Park Drive has not been paid by June 30, 2018, then any ownership:
interest which the Tenants may have in Capitalist Threads or any other
company, corporation, or entity, will be sold at the highest available price, and
the proceeds used solely to pay current rent, past due rent, and added rent, until
all such rent has been paid in full.

(58) The Tenants agree that the Rent Report immediately below is precise,
accurate, correct and complete, and that they will not make any claim of any
offset or counterclaim to the amount due shown below:

 
    
    
 

10 Kisco Park Drive Rent Record

Month Rent Due Payments.Applied Cumulative

For Month Date Amount Rent Due

July-11 $3,800 $3,800

7/11 to 6/12 $485 $4,285
garbage collection 2/8/2013 $350 $3,935
2/12/2013 $400 $3,535

2/15/2013 $900 $2,635

2/22/2013 $1,000 $1,635

3/7/2013 $1,000 $635

3/27/2013 $635 So

August-11 $3,800 $3,800
3/27/2013 $365 $3,435

4/4/2013 $200 $3,235

4/15/2013 $1,200 $2,035

4/23/2013 $600 $1,435

5/2/2013 $1,435 so

September-11 $3,800 $3,800
5/2/2013 $165 $3,635

5/17/2013 $500 $3,135

Approved by Kenneth S. Levy | L Sharon M. Levy YL Philip J. Sirlin PA

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5/20/2013 $500 $2,635
. 6/4/2013 $400 $2,235
6/10/2013 $800 $1,435

 
 
  

(18/2013 $500 $935
7/1/2013 $350 $585

7/24/2013 $500 $85
9/19/2013 $85 $0
October-11 $3,800 | | $3,800
~~ g/19/2013 $915 $2,885
9/9/2013 $900 $1,985
10/4/2013 $500 $1,485
10/4/2013 $450 $1,035
10/30/2013 $500 $535 it
11/5/2013 $300 $235
11/7/2013 $200 $35
11/15/2013 $35 sO
November-11 $3,800 $3,800
11/15/2013 $415 $3,385
12/4/2013 $300 $3,085
12/18/2013 $300 $2,785
12/18/2013 $300 $2,485
1/10/2014 $800 $1,685
2/3/2014 _ $500 $1,185
2/3/2014 $150 $1,035
2/3/2014 $300 $735
2/21/2014 $700 $35
3/14/2014 $35 $0
December-11 $3,800 $3,800
3/14/2014 $1,365 $2,435
3/21/2014 $600 $1,835
4/11/2014 $500 $1,335
5/2/2014 $1,000 $335
5/30/2014 $335 $0
January-12 $3,800 $3,800
5/30/2014 $665 $3,135
6/5/2014 $250 $2,885
6/12/2014 $300 $2,585
6/24/2014 $900 $1,685
February-12 $3,800 $5,485
March-12 $3,800 $9,285
April-12 $3,800 $13,085
May-12 $3,800 $16,885

Approved by Kenneth S. Levy ie Sharon M. Levy | Se Philip J. Sirlin “

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June-12 $3,800 $20,685
July-12 $3,800 - $24,485

7/12 to 6/13 $485 $24,970
garbage collection Oe as a $24,970
August-12 $3,800 $28,770
September-12 $3,800 $32,570
October-12 $3800 $36,370
November-12 $3,800: $40,170
December-12 $3,800 — $43,970
January-13 $3,800 $47,770
February-13 $3,800 $51,570
March-13 $3,800 $55,370
April-13 $3,800 $59,170
May-13 $3,800 $62,970
June-13 $3,800 $66,770
July-13 $3,800 | $70,570

7/13 to 6/14 $485 $71,055
garbage collection $71,055
August-13 $3,800 $74,855
September-13 $3,800 $78,655
October-13 $3,800 $82,455
November-13 53,800 $86,255
December-13 $3,800 . $90,055
January-14 $3,800 $93,855
February-14 53,800 $97,655
March-14 $3,800 $101,455
April-14 $3,800 $105,255
May-14 $3,800 $109,055
June-14 $3,800 $112,855
July-14 $4,000 $116,855

7/14 to 6/15 $485 $117,340
garbage collection $117,340
August-14 $4,000 $121,340
September-14 $4,000 $125,340
October-14 $4,000 $129,340
November-14 $4,000 $133,340
December-14 $4,000 $137,340
January-15 $4,000 $141,340
February-15 54,000 $145,340
March-15 $4,000 $149,340
April-15 $4,000 $153,340
May-15 $4,000 $157,340

 
  

Approved by Kenneth S. Levy I Sharon M. Levy / Philip J. Sirlin

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June-15 $4,000 $161,340

(59) As stated in Paragraph 19, Tenants will be in default of this Lease due to
failure to pay rent or adde time if-

a. Tenants fail in am ar month to pay rent of $4,000 in addition to any
added rent, or, Dee

b. The past due balance
was $112,855 (one hu
dollars), or, a are

c. Tenants fail to pay added rent within 30 days of request by Landlord, or,

d. Tenants fail to reduce the past due balance as described in Paragraph 58
to $100,000 (one hundred thousand dollars) by September 1, 2014.

(60) The past due balance, which was $112,855 (one hundred twelve.
thousand, eight hundred fifty-five dollars) as of June 30, 2014, is due and’
payable immediately. Tenants agree that Landlord may demand payment of the
past due balance or any part thereof at any time. Because of Landlord’s offer of
this Lease to Tenants in spite of the very large past due balance, Tenants agree
that Tenants will pay any and all of Landlord’s expenses that are incurred to
collect the past due balance, both during the term of this Lease and at any time
in the future until the past due balance is paid in full.

(61) If Tenants are in default of this Lease or this Attachment to Lease due to
failure to pay rent or added rent on time, Landlord may at any time exercise
Landlord’s remedies as specified in Paragraph 19. Tenant’s defaults and
Landlord’s remedies, of this Lease. Tenants and Landlord agree that the five-
day notice described in subparagraph A of, this provision will be delivered to
Tenants by email to ken@combustionmarketing.com. The three-day notice
described in subparagraph B of this provision will be delivered to Tenants in the
manner prescribed by law.

(62) Landlord’s choice to delay exercising Landlord’s remedies in this Lease
shall not diminish in any way or manner Landlord's rights to exercise these
remedies at a later date.

(63) Notices from Landlord to Tenants that do not legally require personal
service will be sent to Tenants by e-mail at ken@combustionmarketing.com.

(64) All payments to Landlord will be made by tenants by deposit to Landlord’s
account at JP Morgan Chase bank, account of Philip J. Sirlin, routing number
021000021, account number 507001202765.

(65) The Tenants consent to the jurisdiction of the Town Court in the Town of
New Castle, New York, the County Court in the County of Westchester, the state
courts in the State of New York, and the appropriate federal courts.

  
 
   
  

eater than the level on June 30, 2014, which
dred twelve thousand eight hundred fifty-five

Approved by Kenneth S. Lev _ Sharon M. Levy Philip J. Sirlin pe

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ie from Tenants to Landlord for past due rent
is Lease is $161,340 (one hundred sixty-one
rs) plus all added rent. Tenants agree to pay
or counterclaim.

The parties agree that the amount
and current rent for the term
thousand three hundred
this amount in full withou Se

 

The parties have entered into this [ease, including this Attachment to Lease, for the
period July 1, 2014 to June 30, 2015, on the date shown below.

Subscribed and sworn to (or affirmed) before me

th
|] day of areal , oly _, by
Date Month Year

wae thd AAS

~Bhilip J. Qiriin

TENANT: La

[Setineth S. Levy

TENANT: gaan. Cpued

Sharop M. Levy

Ph. Vth ook

Signature of Notary Public

this

~'GHRISTOPHER JOHN MCBRIDE
Nofary-Rublic - State of New York

= NO. O1MC6283804
” Qualified in Westchester County
My Commission Expires Jun 17, 2017

 

Approved by Kenneth S. el Le Sharon M. Levy Philip J. Siriin

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GITAAT IF LO.0L.0U Faye 00 U
Disclosure of Information on Lead-Based Paint and /or Lead-Based Paint Hazards

Lead warning Statement
Housing built before 1978 may contain lead-based paint. Lead from paint, paint chips, and dust can pose health

hazards if not managed properly. Lead exposure is especially harmful to young children and pregnant women.
Before renting pre-1978 housing, lessors m close the presence of known lead-based paint and/or lead-based
paint hazards in the dwelling. Lessees 0 receive a federally approved pamphlet on lead poisoning

prevention.

  
 
 

Lessor’s Disclosure
(a) Presence of lead-based paint and/or iead-based ‘paint hazards (check (i) or (ii) below):

(i) HM known lead-based paint and/or lead-based paint hazards are present in the housing
(explain).
The Premises was constructed before 1955, and painted many times, probably with

lead-based paint. Lessor did not own the property during the time when lead-based .
paint was used, so Lessor does not have detailed information. /

Gi) Lessor has no knowledge of lead-based paint and /or lead-based paint hazards in the
housing.

(b) Records and reports available to the lessor (check (i) or (ii) below):

@ __Lessor has provided the lessee with all available records and reports pertaining to
lead-based paint and/or lead based paint hazards in the housing (list documents below).

(it) a __ Lessor has no reports or records pertaining to lead-based paint and/or lead-based paint
hazards in the housing,

 

/ Agent’s Acknowledgment (initial)

(e) _Agent has informed the lessor of the lessor’s obligations under 42 U.S.C. 4852(d) and
is aware of his/her responsibility to ensure compliance.

Certification of Accuracy
The following parties have reviewed the information above and certify, to the best of their knowledge, that the

) mation they provided is true and accurate,

 

 

 

 

Pll
Lessee Date
Agent { Date Agent Date

NYCHA 059.018 (11/00)

 

 
